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            EXHIBIT 4
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SUFFOLK, ss.
                       COMMONWEALTH OF MASSACHUSETTS

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                                                          BUSINESS LITIGATION SESSION
                                                  )
  DEPUY SPINE, INC. and                           )
  JOHNSON & JOHNSON REGENERATIVE                  )
. THERAPEUTICS, LLC                               )
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                                                  )                              I.
                                                                                            :   .)
       Plaintiffs,                                )                                         :     J    (')

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                                                  ;    C. A. No. 07-1464-6~5/-                  Ci'>
v.                                                                                                               '
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                                                                                                                 -,
                                                  )                                                              }

STRYKER BIOTECH L.L.C. and                        )                                              (,)                 )

                                                                                                                         '
G. JOSEPH ROSS,                                    )
                                                   )
       Defendants.                                 )
                                                   )
                                                   )
_________________                                  )

            PLAINTIFFS' MOTION FOR PRELIMINARY INJUNCTION,
         OR ALTERNATIVELY, FOR TEMPORARY RESTRAINING ORDER

       Pursuant to Mass. R. Civ. P. 65(a) and (b), Plaintiffs, DePuy Spine, Inc. ("DePuy

Spine") and Johnson & Johnson Regenerative Therapeutics, LLC ("JJRT") (together, the

"Companies"), move for a preliminary injunction, or, in the alternative, a temporary

restraining order, enjoining Defendant, G. Joseph Ross ("Ross"), from competing with his

former employer, DePuy Spine, in violation of his Employee Secrecy, Non-Competition and

Non-Solicitation Agreement (the "Agreement"). In the absence of injunctive relief, Ross will

undertake employment on April 11, 2006, and DePuy Spine and JJRT will be irreparably

harmed. In support of this Motion, DePuy Spine and JJRT submit their Memorandum in

Support of Plaintiffs' Motion for Preliminary Injunction, or Alternatively, for Temporary

Restraining Order and state as follows:




                                                                                                                     [1 of 29]
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       1.     DePuy Spine is in the business of manufacturing, marketing and distributing

spinal implant and bone graft products. JJRT is in the business of research and development of

orthobiologic products, including bone graft products.

       2.     As a former employee of DePuy Spine, Ross is subject to non-competition and

non-solicitation covenants with DePuy Spine and JJRT, which prohibit him from taking

employment in a position where he can utilize confidential information of the Companies to

"enhance the use or marketability" of products which "resemble or compete" with a product of

DePuy Spine or JJRT. Ross 's Agreement with the Companies also prohibits Ross from

assisting other companies in the solicitation of customers with whom Ross has had contact in

the twelve months prior to terminating his employment with DePuy Spine.

       3.      Ross, the former Worldwide Vice President of New Business Development for

DePuy Spine, possesses confidential information concerning DePuy Spine's and JJRT's

products, including confidential information about customers, marketing strategies, sales and

financial information, distribution network, new product development and licensing and

acquisition activities for both bone graft and spinal implant technologies and products.

       4.      Ross also possesses confidential information regarding the Companies'

relationships with key surgeon opinion leaders and surgeon customers. Ross has had contact

with such surgeons in the twelve months prior to his resignation.

       5.      Ross intends to undertake employment for Stryker Biotech as its Vice President

of Marketing on April 11, 2007.

       6.      Stryker Biotech competes with DePuy Spine and JJRT in the bone graft product

business, and its affiliated corporation, Stryker Spine, competes with DePuy Spine in the spinal

implant business.



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         7.      The nature of Ross's responsibilities for Stryker Biotech will inevitably cause

 Ross to utilize the Companies' confidential information to enhance "the use and marketability"

 of Stryker Biotech's products, and will be in breach of Ross's non-competition and non-

 solicitation covenants.

         8.      A preliminary injunction is required to prevent Ross from violating the

 Agreement and causing irreparable harm to the Companies.

         9.      In the event that this matter cannot be set for hearing on the preliminary

 injunction prior to Ross' s proposed starting date of April 11, 2007, or should the Court

 determine that a further evidentiary hearing on this Motion is necessary, DePuy Spine and

 JJRT respectfully request that a Temporary Restraining Order be issued to maintain the status

 quo by restraining Ross from assuming his new employment until determination of this Motion
 for preliminary relief.

        WHEREFORE, Plaintiffs, DePuy Spine and JJRT, respectfully request that, for a

period of eighteen months from the termination of Ross's employment with DePuy Spine or

until further Court notice, the Court enjoin:

               (i)     Ross's employment by Stryker Biotech as its Vice President of

Marketing or in any other position relating to sales, marketing, research and development, or
licensing and acquisition; and,




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                                                                                                   [3 of 29]
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.
    ..

                          (ii)   disclosure, solicitation of a disclosure or use of any confidential

         information of DePuy Spine or JJRT that Ross gained during the course of his employment

         with DePuy Spine.

                                            REQUEST FOR HEARING


                 Pursuant to Superior Court Rules 9A(c)(2) and (3), DePuy Spine and JJRT respectfully

         request a hearing on this Motion.


                                                               DEPUY SPINE, INC. and JOHNSON
                                                               & JOHNSON REGENERATIVE
                                                               THERAPEUTICS, LLC,

                                                                By their attorneys,



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                                                                Rebecca L. Sipowicz (BB0#650715)
                                                                NUTTER, MCCLENNEN & FISH LLP
                                                                World Trade Center West
                                                                155 Seaport Boulevard
                                                                Boston, MA 02210
                                                                (617) 439-2000

         Date: April 6, 2007




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                                           COMMONWEALTH OF MASSACHUSETTS

                   SUFFOLK, SS.                                                       SUPERIOR COURT
                                                                                      BUSINESS LITIGATION
                                                                                      SESSION
                                                                       )
                   DEPUY SPINE, INC. and JOHNSON &    )
                   JOHNSON REGENERATIVE THERAPEUTICS, )
                   llC                                                 )
                                                                       )
                          Plaintiffs,                                  )
                                                                       )
                   V.                                                  )   C. A. No. 07-1464    ·-61-S I
                                                                                                                     r,.-.)
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                   STRYKER BIOTECH L.L.C. and G. JOSEPH                )                                     I   ,
                                                                                                                     • J
                   ROSS,                                               )
                                                                       )
                          Defendants.                                  )
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                   __________________                                  )
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                                         MEMORANDUM IN SUPPORT OF
                               PLAINTIFFS' MOTION FOR PRELIMINARY INJUNCTION
                            OR ALTERNATIVELY, FOR TEMPORARY RESTRAINING ORDER

                          This case concerns a violation of a non-competition and non-solicitation agreement by a

                   former senior executive of Plaintiff, DePuy Spine, Inc. ("DePuy Spine"), by virtue of his

                   undertaking employment with Defendant, Stryker Biotech L.L.C. ("Stryker Biotech"), a direct

                   competitor of DePuy Spine. Defendant, G. Joseph Ross ("Ross"), has accepted a position as

                   Stryker Biotech's Vice President of Marketing, a position in which he will inevitably utilize

                   confidential information of the Plaintiffs to advantage Stryker Biotech. Plaintiffs, DePuy Spine

                   and its affiliated entity, Johnson and Johnson Regenerative Therapeutics, LLC (" JJRT"), seek

                   preliminary injunctive relief enjoining Ross from undertaking this position. This memorandum

                   is submitted in support of Plaintiffs' Motion for Preliminary Injunction, or Alternatively, for

                   Temporary Restraining Order.




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..
                                      FACTUAL BACKGROUND

     The Non-Competition and Non-Solicitation Agreements

            Ross has been employed by DePuy Spine in a variety of positions for the last eleven

     years, including most recently as its Worldwide Vice President, New Product Development.

     (Affidavit of Bradley T. Moore, dated April 5, 2007, 114, filed herewith ("Moore Aff. ").) On

     or about March 19, 2007, Ross informed DePuy Spine that he intended to take a position as

     Stryker Biotech's Vice President of Marketing. (Ltr. from G. Joseph Ross to G. Fischetti,

     dated March 19, 2007, attached hereto as Ex. A.) Ross is subject to an Employee, Secrecy,

     Non-Competition and Non-Solicitation Agreement (the "Agreement") which he re-executed on

     July 27, 2005, as a condition of his most recent promotion. (Agreement and promotion letter

     attached as Ex. B hereto). In the preamble of the Agreement, Ross acknowledges the receipt

     of confidential information as follows:

                    I recognize that CONFIDENTIAL INFORMATION is significant to the
                    COMPANY'S competitive position and that the COMPANY therefore expects
                    me to keep it secret and also expects me not to compete with the COMPANY
                    during my employment and for a period of time thereafter.

            The Agreement prohibits Ross from competing as follows:

                    [F]or a period of eighteen (18) months after termination of my employment with
                    the Company for any reason I will not render services, directly or indirectly, to
                    any CONFLICTING ORGANIZATION ... in which the service I may provide
                    could enhance the use or marketability of a CONFLICTING PRODUCT by
                    application of CONFIDENTIAL INFORMATION which [I] shall have had
                    access to during [my] employment.

     Agreement, § 6. The Agreement also contains a non-solicitation provision which provides:

                    I therefore agree that during my employment with the COMPANY and for
                    eighteen (18) months after termination of such employment for any reason, I
                    will not solicit any business from, sell to, or render any service, or directly or
                    indirectly, help others to solicit business from or render service or sell to, any of
                    the accounts, customers or clients with whom I have had contact during the last



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              twelve (12) months of my employment with the COMPANY, for any purpose
              related to the sale of any such product or service.

Agreement, § 7 (emphasis added).

       The term "Company" is defined to include not only DePuy Spine but also "JOHNSON

& JOHNSON and any of their successors or assigns, purchasers, acquirers, and any of their

existing and future subsidiaries, divisions or affiliates." Agreement, § 1. "Confidential

Information" is broadly defined to include:

               information disclosed to me or known by me as a result of my employment by
               the COMPANY, not generally known to the trade or industry in which the
               COMPANY is engaged, about products, processes, machines, customers,
               clients, employees and services of the COMPANY, including, but not limited
               to, inventions, research, development, manufacturing, purchasing, finance, data
               processing, engineering, marketing, merchandising, selling, sales volumes and
               strategies, number and location of sales representatives, names and significance
               of the COMPANY's customers and clients and their employees and
               representatives, preferences, needs and requirements, purchasing histories, and
               other customer or client-specific information, and comparable information about
               the products, processes, machines, customers, clients and services of the
               affiliates of the COMPANY acquired by me during my employment by the
               COMPANY.

Agreement, § 1.

       A "Conflicting Organization" is defined with reference to a "Conflicting Product" to

mean "any person or organization which is engaged or about to become engaged in research

on, consulting regarding, or development, production, marketing, or selling of a Conflicting

Product." Agreement, § 1. It expressly includes entities involved or potentially involved in

research and development. The term "Conflicting Product" is defined to mean:

               any product, process, machine, invention or service of any person or
               organization other than the COMPANY in existence or under development
               which resembles or competes with a product, process, machine, invention or
               service upon which I shall have worked or about which I become knowledgeable
               as a result of employment with the COMPANY and whose use or marketability
               could be enhanced by application to it of CONFIDENTIAL INFORMATION
               which I shall have had access to during my employment.


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Agreement, § 1. "Conflicting Product" thus expressly encompasses products "under

development."

The Business of DePuy Spine

       DePuy Spine manufactures and distributes products utilized in the treatment and repair

of spinal disorders and injuries. (Moore Aff., 13.) These products include metal and plastic

hardware products, such as spinal implant and external fixation devices, and bone graft

products (also called orthobiologic or biologic products), which are utilized in conjunction with

spinal implant products to facilitate the regeneration of bone in the spine. (/d.)

       DePuy Spine's spinal implant products include cages, rods, plates and the specialized

screws used to affix these items to human bone. (Affidavit of Scott P. Bruder, M.D., Ph.D.,

dated April 4, 2007, 17, filed herewith ("Bruder Aff. ").) Spinal implant products are used in

spinal surgeries to fuse together segments of the spine. (Id.) In most such surgeries, a bone

graft is performed, in conjunction with the implantation of such devices, to facilitate bone

growth in order to reinforce the bone fusion and to strengthen the spine. (/d.) When a bone

graft is performed using the patient's own bone material, it is called an autograft. In lieu of or

in conjunction with an autograft, surgeons may use bone graft products of the sort sold by

DePuy Spine and others. (Moore Aff., 14.)

       DePuy Spine's bone graft products include allograft, which is donated bone material,

and bone graft materials. (Bruder Aff., 18.) Optium and I/C Graft Chamber are the allograft

products sold by DePuy Spine. (Id.) DePuy Spine's bone graft materials include Healos,

Conduit, Cellect and Symphony. (Id.; see also DePuy Spine website, particular pages attached

as Ex. C.) All these bone graft materials are designed to facilitate bone regeneration in the

spine, using a variety of biologic approaches. (Bruder Aff., 18.)


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DePuy Spine Products in Development at JJRT

          DePuy Spine's product development work is performed by JJRT, the biologics research

and development entity for the Johnson and Johnson ("J&J") family of companies. (Bruder

Aff., 14.) JJRT works in partnership with the J&J operating companies, performing the

research and development work necessary to bring products through FDA or other required

regulatory approval. (Id.) The operating companies are then responsible for

commercialization, product launch, marketing and sales activities of the new products. (Id.)

         In addition to its current portfolio of bone graft products, DePuy Spine has in

development at JJRT several other bone graft products. (Bruder Aff., 19; Moore Aff., 16.)

These developmental products include bone graft materials composed of bone morphogenetic

proteins, or BMPs. (Bruder Aff., 19.) BMPs can be used to regenerate bone or soft tissue,

such as cartilage, tendons, ligaments or meniscus. (/d.) The active protein, contained in high

concentrations, works like the protein found in human bone. (Id.) One of these BMP projects

is a bone graft product for use in spinal fusions; the other is intended to regenerate spinal

discs, by injecting the proteins without surgery. (Id.) JJRT and DePuy Spine have additional

bone graft products in progress or planning, involving technologies other than BMP. (/d.)

Business of Stryker Biotech

         Stryker Biotech and its affiliated company, Stryker Spine, are competitors of DePuy

Spine in the markets for spinal implant and bone graft products. (Moore Aff., 19; Bruder

Aff.,   1 11,   13.) Stryker Biotech currently has in development two bone graft products, called

OP-1 Implant and OP-1 Putty. (Moore Aff., 110; Bruder Aff., 16; portions of Stryker Biotech

website attached as Ex. D hereto.) Stryker Biotech's OP-1 products, like the BMP bone graft

product in development for DePuy Spine, is composed of bone morphogenetic proteins.



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(Bruder Aff.,   19, 13.) Stryker Biotech's OP-1 products are not yet generally available, having
received only limited regulatory approval, called a Humanitarian Device Exemption, which

permits their sale to no more than 4,000 patients a year. (Moore Aff., 111.) Stryker Biotech

has applied for FDA approval to allow for a broader distribution of its OP-1 Putty product.

(Bruder Aff., 112.) Stryker Biotech also has research and development efforts underway for at

least one other BMP product which can be used, like the product under development for

DePuy Spine, to regenerate spinal discs by injection of the proteins, without surgery. (Id.)

Similarity of and Competition Between DePuy Spine and Stryker Biotech Products

       DePuy Spine's existing bone graft product line (e.g., Healos, Conduit, Cellect and

Symphony) and Stryker Biotech's OP-I Putty product are comparable in terms of function and

use. (Bruder Aff., 111; Moore Aff., 110.) DePuy Spine's existing bone graft products, like

Stryker Biotech's bone graft products, are intended for use in bone graft procedures to

facilitate the regeneration of bone. (Moore Aff., 110; Bruder Aff., 18, 12.) To the extent that

Stryker Biotech's OP-1 Putty product is commercially available, it competes with DePuy

Spine's currently available bone graft products. (Moore Aff., 112; Bruder Aff., 113.)

       In addition, DePuy Spine's developmental bone graft and disc regeneration products are

comparable to Stryker Biotech's OP-1 products and its disc regeneration product. Stryker

Biotech's OP-1 Putty and DePuy Spine's developmental bone graft product, both of which

utilize BMPs, are similar in composition, intended functioning and target patient population.

(Bruder Aff.,   1 13.)   The parties' respective disc regeneration products, both utilizing BMPs

in injectible form, are also comparable in terms of target population, base technology and use.

(Id.) When the parties' respective BMP products (BMP bone graft and BMP disc

regeneration) become commercially available, they will compete with each other. (Id.)



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Nature of Ross 's Employment at DePuy Spine

        Ross has obtained substantial confidential information at the core of DePuy Spine's and

JJRT's strategic plans over the course of his eleven year career. 1 He has held a variety of

positions at DePuy Spine, with responsibilities ranging across both the spinal implant and bone

graft product lines. In 1995, he was hired as a sales representative for spinal implant products.

(Moore Aff., 114.) After three years, he moved from sales to marketing, becoming a Product

Manager for spinal implant systems. (Id. at 115.) He assumed increasing responsibility in

marketing over the next several years, advancing from Product Manager to Product Director in

1999 and Group Product Director for spinal implant systems in 2000. (Id.) In the summer of

2003, Ross was promoted to Director of Marketing for Arthroplasty. (Id. at 116.) In 2005,

he was again promoted, to his most recent position as Worldwide Vice President of New

Business Development. (Id.)

        As Worldwide Vice President of New Business Development, Ross's primary

responsibility was to implement a product development strategy by identifying new product and

technological opportunities to be pursued through licensing or acquisition ("L&A "). (Moore

Aff., 117.) As a part of the senior executive team, reporting to the President of the company,

his duties extended well beyond L&A. (Id. at 118.) He served as a member of DePuy Spine's

Management Board, which is responsible for managing all aspects of DePuy Spine's business,

under the direction of the company President. (Id.) Board members regularly review

confidential information regarding DePuy Spine's strategic business plan, strategic marketing

plans, technical product development information, regulatory plans, product pipeline plans,


         1 The presentations and reports to which Ross was privy, referenced in Mr. Moore's affidavit, contain

highly sensitive materials not suitable for disclosure outside of the company, in the absence of appropriate
protections. Plaintiffs will make these documents available for in camera review of the Court upon request.


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and all aspects of the financial and sales performance of DePuy Spine. (Id.) In addition to his

membership on the Management Board, Ross served on a number of important committees

responsible for discrete aspects of the company's management. (Id. at 119.)

Ross 's Possession of Confidential Information of DePuy Spine and JJRT

       Ross's confidential knowledge extends to at least six areas, relevant to his intended

position at Stryker Biotech: product pipeline planning, distribution networks for bone graft

products, strategic business and marketing plans and market analyses, licensing and

acquisition and Key Surgeon Opinion Leaders and surgeon customers.

Product Pipeline Plan

       DePuy Spine's Product Pipeline Plan is a detailed and highly confidential plan,

prioritizing current and future research and development products, their relative risk and

priority, market-size estimates for each product, product launch timelines and L&A targets.

(Moore Aff., 1120, 22.) The plan covers DePuy Spine's bone graft and disc regeneration

products under development, including those utilizing BMPs. (Id. at 1120-22.) The

formulation of the plan involves consideration of the company's strategic business plan,

strategic marketing plan, assessments of the market potential for the new product,

considerations with respect to potential positioning of new products, and assessment of

potential products vis a vis competitor's products. (Id. at 1120-22.) Ross assisted in the

formulation of this plan as a member of the Product Pipeline Committee and is aware of plan

details and its underlying market rationale. (Id. at 123.) Information contained in the Product

Pipeline Plan would be relevant to the marketing of Stryker Biotech's similar bone graft and

disc regeneration products, even though the products are still in the R&D stages. (Id.)

Marketing planning begins in the R&D phase for these sorts of products. (Id. at 8.)



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Distribution and Sales of Bone Graft Products

       Ross possesses information regarding DePuy Spine's recent evaluation and

reorganization of its distribution network. (Moore Aff., 126.) In 2006, DePuy Spine

undertook a critical review of its distribution network to identify underperforming distributors.

(Id.) Decisions were made to restructure the distribution system to address those issues,

including by replacing certain distributors. (Id.) Ross has knowledge of the weaknesses and

strengths of the distribution system, sales turnover rates, sales representative salaries and

commissions, sales performance by distributor and market size and growth by distributor

region. (Id.) With respect to areas where new distributors have been appointed, Ross has

knowledge of those potentially vulnerable markets. (Id.) Ross has also been privy to regular

regional sales performance presentations for the new distribution system, covering, by way of

example, sales results, including for biologic products, growth rates, sales trends and goals,

identification of key existing accounts and key target accounts and identification of DePuy

Spine's current marketing and sales strategies. (Id.) All of this information would be useful to

the development of Stryker Biotech's marketing plan. (/d.)

Strategic Business and Marketing Plans and Market Analyses

       In his capacity as a DePuy Spine Management Board member, Ross has been privy to

DePuy Spine's strategic business plan, which includes market share estimates, revenue

forecasts, including forecasts for bone graft and disc regeneration products, assessments of

competitors' product portfolios, and elements of DePuy Spine's market strategy. (Moore Aff.,

130.) Ross has had access to other market analyses, such as quarterly analyses containing

forecasts of market growth and market share by product area, including for bone graft and disc

regeneration products. (Moore Aff., 131.)



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Licensing and Acquisition

       Ross has intimate knowledge of DePuy Spine's L&A strategy, including specific

opportunities that DePuy Spine is continuing to review and those which it has rejected.

(Moore Aff., 124; Affidavit of Sudhakar Kadiyala, Ph.D., dated April 3, 2007, 115-6, filed

herewith ("Kadiyala Aff. ").) Ross's L&A work over the past year included assessment of at

least ten targets with biologic bone graft technologies or technologies otherwise suitable for

DePuy Spine's orthobiologics portfolio. (Moore Aff., 124; Kadiyala Aff., 116-7.) At least

three of those opportunities are still being considered by JJRT or DePuy Spine. (Moore Aff.,

124; Kadiyala Aff., 116-7.) As recently as January, 2007, Ross was involved in a conference

call concerning a target possessing bone graft technology and is aware that DePuy Spine will

be meeting with that target over the summer. (Moore Aff., 125.)

Key Surgeon Opinion Leaders and Surgeon Customers

       Surgeons practicing in the field of spinal surgery are an important element of the

marketing and product development efforts for DePuy Spine and other companies in the

industry. (Moore Aff., 127.) Influential surgeons are frequently consulted with respect to new

product development, product performance and surgeon preference for purposes of formulating

product development and marketing plans. (Id.) Research is done to identify these key

surgeons, and investments are made to develop relationships with them through various

collaborations. (Id.) As a Management Board member, Ross was responsible as a primary or

backup contact for twenty-two key surgeon opinion leaders, at least two of which are

specifically aiding in the development of new biologics products and technologies. (Id.)

       Over the course of his employment, Ross has developed an even greater number of

relationships with key surgeon opinion leaders. (Moore Aff., 129.) As Chair of the Industry



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                                                                                                 [14 of 29]
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Landscape Surgeon Advisory Panel, Ross was responsible for assembling committees of

surgeons by their area of expertise to elicit feedback from these surgeons on industry trends,

particular technologies and companies that would be of interest to DePuy Spine. (Id. at 128.)

        Based on his years of experience in marketing and sales, Ross knows many of DePuy

Spine's surgeon customers who are not designated as opinion leaders. (Moore. Aff., 129.) In

addition, as a member of the Management Board, Ross was required to make quarterly field

visits to surgeon customers, including to meet with high-profile surgeon thought leaders or

high-profile surgeon sales targets during these field visits. (Jd.)

Ross 's Intended Employment with Stryker Biotech

         As Stryker Biotech's Vice-President of Marketing, Ross will be responsible for

worldwide business development and marketing of Stryker Biotech's OP-1 bone graft products,

as well as similar bone graft and disc regeneration products in development. 2 He will

 "develop[] and implement[ ] a global marketing strategy" for these products, which have yet

to be made generally commercially available. (Ross Job Description, Ex. E.) Ross will

manage product roadmaps for commercialization, including management of timelines for

clinical trials, manage product launch, develop core marketing messages, determine product

positioning, and prepare market and product forecasts. (Jd.) As he did for DePuy Spine, Ross

will be required to interview key surgeon opinion leaders to elicit information applicable to the

performance and marketing of the OP-1 products. In addition, Ross will coordinate with other

parts of Stryker Biotech's management team, including on L&A and on regulatory planning

and clinical trials. Ross will assist in evaluating L&A opportunities in the area of


         2 Stryker Biotech has not identified these similar products in development other than to indicate that they
arc intended for applications in cartilage regeneration, bone-based fusions, and for treatment of osteoarthritis,
osteoporosis and other areas. (Ross Job Description, Ex. E.)



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orthobiologics, his primary responsibility at DePuy Spine. He will also interface with his

peers managing Research and Development and Clinical and Regulatory Affairs to provide

input on marketing of products in their early stages of development.

       Ross's duties will overlap directly with his most recent role at DePuy Spine and will

implicate nearly every aspect of the core strategic information about DePuy Spine and JJRT

that he gained through his employment.

                                     LEGAL STANDARD
        The Agreement provides that it shall be governed by New Jersey law. Agreement, §

 16. Massachusetts courts give effect to choice of law provisions where such provisions are

 reasonably chosen by the parties to govern their rights under the contract. Morris v. Watsco,

 Inc., 385 Mass. 672, 675 (1982). Since Massachusetts law recognizes and enforces non-

 competition and non-solicitation agreements, the choice of New Jersey law in the Agreement is

 valid. Novelty Bias Binding Co. v. Shevrin, 342 Mass. 714, 716 (1961); see also Restatement

 (Second) Conflict of Laws, § 187(2); Shipley Co., Inc. v. Clark, 728 F. Supp. 818, 825 (D.

 Mass 1990).

        In order to obtain preliminary injunctive relief, the movant must show: "(1) a

 likelihood of success on the merits; (2) that irreparable harm will result from denial of the

 injunction; and (3) that, in light of the [moving party'sJ likelihood of success on the merits,

 the risk of irreparable harm to the [moving party] outweighs the potential harm to the

 [nonmoving party] in granting the injunction." Tri-Nel Mgt., Inc. v. Bd. of Health of

 Barnstable, 433 Mass. 217, 219 (2001); see also Packaging Indus. Group., Inc. v. Cheney,

 380 Mass. 609, 615-16 (1980). Applying this standard, DePuy Spine and JJRT are entitled to

 preliminary injunctive relief against Ross and Stryker Biotech.



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                                               ARGUMENT

I.      DePuy Spine and JJRT are Likely to Succeed on the Merits of Their Claims.

        DePuy Spine and JJRT are likely to succeed on their claim that Ross's employment

with Stryker Biotech is in breach of his non-competition and non-solicitation agreements.

Stryker Biotech competes with DePuy Spine and JJRT in the research, development and

marketing of bone graft products. Ross possesses high-level confidential information

applicable to his job at Stryker Biotech, which could be used to "enhance the use or

marketability" of Stryker Biotech's products.

        A.       The Non-Competition and Non-Solicitation Agreements are Enforceable.

        Reasonable non-competition agreements are enforceable under New Jersey law. Solari

Indus., Inc. v. Malady, 55 N.J. 571, 576, 264 A.2d 53 (1970); see also A.T. Hudson & Co.,

Inc. v. Donovan, 216 N.J. Super. 426, 432, 524 A.2d 412 (1987). A non-competition

agreement is reasonable under New Jersey law "where it simply protects the legitimate

interests of the employer, imposes no undue hardship on the employee, and is not injurious to

the public." Solari, 55 N .J. at 576. 3

                 1.      The Agreement Protects Legitimate Business Interests.

        The non-competition and non-solicitation agreements protect DePuy Spine and JJRT's

legitimate interest in preserving the confidentiality of their information and protecting customer

goodwill. New Jersey courts "'recognize as legitimate the employer's interest in protecting

trade secrets, confidential information, and customer relations."' Campbell Soup Co. v.


3 In addition, New Jersey law allows "blue penciling" (i.e. limiting a restrictive covenant to cure any

unreasonableness in scope). See Solari, 55 N.J. at 585; see also Raven v. A. Klein & Co., 195 N.J. Super. 209,
217,478 A.2d 1208 (App. Div. 1984) (finding non-competition agreement reasonable aside from length often
years, and limiting scope to three years).




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Desatnick, 58 F. Supp. 2d 447, 489 (D.N.J. 1999) (quoting Ingersoll Rand Co. v. Ciavatta,

110 N.J. 609,628, 542 A.2d 879 (1988)). Employers' right to protect confidential

information extends even to "'highly specialized, current information not generally known in

the industry, created and stimulated by the research environment furnished by the employer, to

which [an] employee has been 'exposed' and 'enriched' solely due to his employment."'

Campbell Soup, 58 F. Supp. 2d at 489 (quoting Ingersoll Rand, 110 N .J. at 638-39).

Protection for customer goodwill extends to information developed about the identity and

preferences of customers through the course of employment, even if that information is

publicly available. See e.g. A. T. Hudson, 2116 N .J. Super at 433; Platinum Mgmt. Inc. v.

Dahms, 285 N.J. Super 274, 294-95, 666 A.2d 1028 (Law Div. 1995) (although customer

names may be listed in trade publications, their identity is still entitled to protection when

divulged in confidence to a key employee subject to a non-solicitation agreement).

               2.      There ls No Undue Hardship On Ross.

       Hardship on an employee is undue if the restrictions protect more, on balance, than the

extent to which the employer has a legitimate interest to protect. Coskey 's Television & Radio

Sales & Serv. v. Foti, 253 N.J. Super. 626,636,602 A.2d 789 (App. Div. 1992). DePuy

Spine and JJRT have an unquestionable interest in protecting against the use of their

confidential information and customer goodwill in favor of a competitor. The non-competition

and non-solicitation provisions are narrowly drawn to protect that interest. The Agreement

does not prevent Ross from finding employment in the industry, and does not even prohibit

him from undertaking any position with a competitor. Any hardship on Ross is mitigated, in

any case, by the compensation provision, affording Ross one hundred percent of his base

salary should he satisfy the requirements of that provision. See Campbell Soup, 58 F. Supp.



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2d at 490. ("safety net" provision cushions financial loss to former employee, adding to

reasonableness of non-competition agreement).

              3.      The Agreement Is In the Public Interest.

       A non-competition or non-solicitation agreement may be found to be contrary to public

interest in cases where there is some "public component" of the industry, such as "rights of the

public to have free access to the advice of professionals licensed by the State." Coskey 's

Television, 253 N .J. Super. at 634. Here, there are no public considerations to protect.

               4.     The Agreement Is Reasonable in Time, Scope, and Manner.

       To be reasonable, the geographic and time restrictions of a non-competition agreement

must be limited to protect the employer's legitimate interest, under the circumstances, and not

unduly interfere with the employee's ability to earn a livelihood. Ingersoll Rand, 110 N .J. at

615. Numerous non-competition agreements with durations of eighteen months to three years

have been found to be enforceable. See e.g. A.T. Hudson, 216 N.J. at 432 (two-years);

Campbell Soup, 58 F. Supp. 2d at 490-91 (eighteen months); Manso! Indus., 1996 U.S. Dist.

LEXIS 22823, at *33 (three-years). Given Ross's extensive confidential knowledge, as well as

the competitive nature of the market, an eighteen month restriction is similarly appropriate and

reasonable. The application of the non-competition covenant within Massachusetts, when the

products are marketed worldwide, is also presumptively reasonable.




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         B.    Ross's Employment with Stryker Biotech Will Breach the Non-Competition and
               Non-Solicitation Provisions of the Agreement.

                 1.     There is a High Likelihood that DePuy Spine and JJRT Prevail on their
                        Claim that Ross 's Employment Breaches the Non-Competition
                        Agreement.

          DePuy Spine and JJRT have a high likelihood of success of prevailing on their claim

that Ross's employment with Stryker Biotech constitutes a breach of the non-competition

agreement. Ross possesses a wide variety of high-level "Confidential Information," as that

term is defined in the Agreement. Stryker Biotech qualifies as a "Conflicting Organization"

because it markets and develops "Conflicting Products." Stryker Biotech's OP-1 bone graft

and disc regeneration products constitute "Conflicting Products" because they "resemble or

compete" with both the commercialized and developmental products of DePuy Spine. Like

DePuy Spine's current and developmental bone graft products, Stryker Biotech's OP-1 Putty is

used for bone grafting in spinal fusion surgeries. Both DePuy Spine's and Stryker Biotech's

products facilitate bone regeneration in the spine and can be used in connection with or in lieu

of allografts. In addition, DePuy Spine's and Stryker Biotech's BMP bone graft and disc

regeneration products utilize the same biologic approach. Stryker Biotech's and DePuy

Spine's bone graft and disc regeneration product portfolio resemble and compete with each

other.

          Ross's employment at Stryker Biotech will be in breach of Section 6 of the Agreement

because "the services [he] may provide could enhance the use or marketability of a

CONFLICTING PRODUCT by application of CONFIDENTIAL INFORMATION." Ross

can use the confidential business information in a multitude of ways. He could use his

knowledge of DePuy Spine's strategic business plans, marketing plans or newly restruct1ired

distribution system to tailor the marketing plan he develops for Stryker Biotech products in


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order to improve market success. Ross's knowledge of DePuy Spine's core marketing

message and product positioning strategy is also directly applicable to his new job. When

providing input into the marketing aspects of Stryker Biotech's L&A decisions, Ross can

employ his knowledge of DePuy Spine's and JJRT's L&A activities, including their decisions

with respect to pursuing or abandoning any opportunity. Ross's knowledge of DePuy Spine's

product pipeline plan, with information about product launches, product roadmaps and

prioritization, could also be utilized to enhance his efforts to manage product launches,

commercialization timelines and timelines for clinical trials to advantage Stryker Biotech. In

addition, Ross could use confidential information regarding key surgeon opinion leaders

obtained from DePuy Spine to enhance his efforts to convince such surgeons to work with

Stryker Biotech.

       The facts of this case bear strong resemblance to those in Campbell Soup Co. v.

 Desatnick, 58 F. Supp. 2d 477,489 (D.N.J. 1999), where a senior level executive was

 enjoined from using high-level business information to advance a competitor's business. The

 defendant in Campbell Soup was a high ranking advertising executive who, aside from his

 direct responsibilities in advertising, sat on Campbell's Leadership Group, which met

 monthly to discuss strategic planning, financial performance, financial forecasting, and

 resource allocation while planning and managing the company's overall business and

 performance. Id. at 482. Significantly, defendant had recently participated in meetings

 concerning Campbell's new advertising plans for its soup brands, as well as the formulation

 of position brands in the market, internal resource allocation, pricing strategies, and analyses

 of brand strengths and vulnerabilities. Id. at 483. According to the court, defendant "has

 been privy to some of the most guarded corporate strategic secrets over the past two years,


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including much that is not public and may never become public." Id. at 485. The court

enforced the non-competition agreement as defendant had been exposed to "a considerable

amount of information of the type that is entitled to protection under New Jersey law," and

Campbell's had a legitimate business interest in preventing defendant from using this

information to its disadvantage on behalf of a direct competitor under New Jersey law. Id. at

491. That is the exact situation presented here. Ross's position at Stryker Biotech falls

squarely within the non-competition provision.

               2.     There is High Likelihood that DePuy Spine and JJRT Will Prevail on
                      their Claim that Ross 's Employment Will Breach the Non-Solicitation
                      Agreement.

       DePuy Spine and JJRT also have a high likelihood of success in proving that Ross's

employment with Stryker Biotech violates the non-solicitation provision of the Agreement.

Section 7 prohibits Ross from "directly or indirectly, help[ing] others to solicit business from

or render service or sell to, any of the accounts, customers or clients with whom I have had

contact during the last twelve (12) months of my employment with the COMPANY." In the

last twelve months of his employment, Ross made quarterly sales visits to key surgeon

customers and had contact with key surgeon opinion leaders. As a result, he is barred from

employment which would involve the creation and implementation of a marketing plan which

assists the sales force in soliciting these surgeon customers. See e.g. Lamorte Burns & Co. v.

Walters, 167 N.J. 285, 292-309, 770 A.2d 1158 (2001) (enforcing non-solicitation agreement);

Platinum Management, 285 N .J. Super. at 294-95 (non-solicitation agreement valid as it

protected plaintiff's legitimate interest in customer relations). Given that Ross will have

company-wide responsibility for the marketing plan, he cannot cure this potential breach by




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limiting his physician contacts. By virtue of managing Stryker Biotech's marketing plan which

will be targeted to these surgeons, he is in violation of Section 7 of the Agreement.

II.    DePuy Spine and JJRT Will Suffer Irreparable Harm If the Injunction Is Not
       Issued.

       Ross specifically agreed that a breach of the non-competition agreement would cause

DePuy Spine "irreparable injury" not properly compensable by damages in an action at law.

Agreement, § 5. This recitation alone shows irreparable harm. See EMC Corp. v. Kempel,

2001 WL 1763451, at *4 (Mass. Super. Ct. Nov. 20, 2001) (van Gestel, J.) (accepting

recitation of irreparable harm at face value). In addition, irreparable harm can be established

through potential disclosure of confidential information. See Shipley, 728 F. Supp. at 827;

Edgecomb v. Edmonston, 257 Mass. 12, 18-20 (1926); Darwin Partners, Inc. v. Signature

Consultants UC, 2000 Mass. Super. LEXIS 614, at *15 (Burnes, J.). DePuy Spine and JJRT

will suffer immediate and irreparable harm if Ross assumes his new position because, despite

any intention to the contrary, he will inevitably utilize confidential information in performing

his duties. See Nat'l Starch & Chem. Corp. v. Parker Chem. Corp., 219 N.J. Super. 158,

162, 530 A.2d 31 (App. Div. 1987) (finding sufficient likelihood of "inevitable disclosure" if

former employee went to work for direct competitor, which would cause plaintiff irreparable

harm); Campbell Soup, 58 F. Supp. 29 at 489-90 (finding violation of non-competition

agreement based on extent of relevant confidential information known by defendant without a

showing of intent to disclose). Ross possesses the highest-level of confidential information of

DePuy Spine and JJRT, central to their ability to compete. Even a minimal or unintended

disclosure of this information will disadvantage these companies in the marketplace.




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III.    The Balance of Harms Favors DePuy Spine and JJRT .

        If a preliminary injunction were to enter, Ross would suffer, at most, the minimal harm

of a delay in starting his employment. Such a delay, or even the inability to undertake a

particular job, does not, standing alone establish "undue hardship.'' See e.g. Marine

Contractors Co. One. v. Hurley, 365 Mass. 280, 288-89 (1974); Philips Elecs. N. Am. Co,p.,

2000 Mass. Super. LEXIS 574 at *14-15. In contrast, DePuy Spine and JJRT will be

irreparably harmed and unfairly disadvantaged by the use of its confidential information in

favor of a competitor. Public interest considerations also favor the entry of the injunction

because "[i]t is in society's best interest to recognize and enforce agreements which were

voluntarily entered into and accepted." New England Circuit Sales, Inc. v. Randall, 1996 WL

1171929, *3 (D. Mass. June 4, 1996).

                                         CONCLUSION

        For the reasons stated above, DePuy Spine and JJRT request that this Court issue a

preliminary injunction in the form set forth in their Motion, or, alternatively, enter a

temporary restraining order as requested therein.

                                                     DEPUY SPINE, INC. and JOHNSON
                                                     & JOHNSON REGENERATIVE
                                                     THERAPEUTICS, LLC,

                                                     i e i r attorneys,

                                                                     ./(~
                                                        ~ n d O (BB0#634347)
                                                     Rebecca L. Sipowicz (BB0#650715)
                                                     NUTTER, MCCLENNEN & FISH LLP
                                                     World Trade Center West
                                                     155 Seaport Boulevard
                                                     Boston, MA 02210
Dated: April 6, 2007                                 (617) 439-2000



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                                                                               e DeAJySpine.
                                                                                   a ~..~ company



                                                                                    325 Paramount Drive
                                                                                    Raynham, MA 02767
     G. Joseph Ross                                                                 Direct Dial: (508) 828-3725
     WW Vice President, New Business Development                                    e-mail: jross4@dpyus.jnj.com




     19 March 2007

     Gary Fischetti
     President

     DcarGaxy,

     It is with mixed emotions and some sadness that I wish to inform you of my desire to resign my position
     with DePuy Spine, effective Match 30, in order to pursue other career opportunities. It has been both a
     pleasure and a privilege over the past eleven years to represent DePuy and Johnson & Johnson, and I am
     thankful for the experiences provided by my association with the corporation. DePuy Spine today
     employs a fantastic team of highly professional, capable and motivated individuals dedicated to the task of
     successfully completing the tum-around course that you have charted. I have enjoyed wotking with you
     and the rest of the management board whom I hold in the highest professional and personal regard.

     I would be remiss if I did not mention a couple of the factors that led to my willingness to consider career
     alternatives. As you know, I have felt that DePuy Spine has been under-resourced for a number of years
     now with regard to the internal and L&.A pipeline in what is an extremely competitive and quickly moving
     market. As our performance deteriorated over time, our ability to execute was hampered by the ever-
     increasing amount of time and human resources requited for analyzing. planning, updating, documenting
     and justifying. I believe that we have not been executing as efficiently as many of our competitors,
     creating a performance gap that is difficult to close in light of our necessary financial metrics. More
     recently, while I take great pride in our ability to thoroughly evaluate and prioritize target L&A
     opportunities, the approval process that must be navigated has proven to be wearying and hinders our
     ability to remain competitively in pursuit of identified opportunities.

     I am confident that the strategic plan in place today has set the stage for a return to market and above
     growth, and that the tum-around will be successfully executed. I will always treasure my time with DePuy
     Spine and I maintain great respect for the company and the corporation. I want to thank you personally
     for the support that you have provided my team and please accept my best wishes for future success.




     cc: Kate McDaniel

     GJR




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                            • DePuySpine..
                                  a~company




Jul 26, 2005


Jo Ross
1o lokory Ridge Road
Re oboth, MA 02769


RE    OFFER LETTER· PROMOTION


I    very pleased to offer you the position of World Wide Vice President, New Business
De elopment, reporting to Eart Fender. This position represents a promotion for you and therefore
yo r new annual salary will be $205,000. Please note that you will oonttnue to be eligible for the
      tlve Compensation Bonus Program tor the year 2005.

Th offer is contingent upon the execution of an Employee Secrecy Agreement with covenant
e Inst conflicting employment. This offer letter constitutes our complete offer paokage to
re gnl%9 your new responslbllltles.
     uy Spine, Inc. maintains an employment-at-will relationship W!Ui Its employees. This means
     both you and the Company retain the right to terminate this employment relationship at any
     and for any reason.
An promises or representations, either verbal or written, that are not contained In this fetter are
no valid and ere not binding on the Company.
Ki ly acknowledge your acceptance of this offer by signing below and returning this to my
a tlon as soon as posslbfe.




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                                                      • DePuySpine,M
                                                            a~company


                                                EMPLOYEE SE,RECV, NOff-COMPETITJON
                                                  ~D NON-SOLICITATION AGREEMENT

                                              Cj. -v;1~1f:. hss



     DEPINJTIONS
     As uaed in this A

     the COMPANY eam1 DtPuy Spine, and JOHNSON & JOHNSON and any of' thoir succcn<>rs or assigns, purchasers, acquircl'6, and any
     of their existing nd future subsidiaries, divisions or affillatea, including any such subsidiary, divfalon or affiliate of John1on & Johnson
     to which I may     tranaf'errod or by which I may bo employed In the future. Affiliates of the COMPANY are any corporation, ontity or
     organization at I at SO% owned by the COMPANY, by Johnson & Johnson or by any subsidiary of Johnson & Johneon.

                         yeo who1e name appears above, 11110 rafarrod to by Che use of flnt person pronouns, tueh as me and my.
     INVENTIONS          aan& dl&coveries, improvement& and/or Ideas, whether patentable or not.
          F Ji:NTI        FORMAT          means information disclosed to me or known by me aa a result ofmy employment by tho COMPANY,
     not generally kn wn to the tT&dc or Industry in which the COMPANY la eng•ged, about products, proce11oa, machines, oustomera, clients,
     employeei and I rvfoas of the COMPANY, Including, but not limited 10 1 invantlons, research, development, manufacaurlna, purchasing,
     finance, data pr oenlng, engineering, marketing, merchandising, selllna, sales volumes and 1tra1ealcs1 number and location of salas
     reprc1cntatlvea 1 amca and aisnlfioancc ot the COMPANY'• 0111tomor1 and cllcntf and thalr employees and reproscntatlves, prafilranccs,
     needs and requlr mcnts, purchaafng ttlstorlllll, and other customer or clfcnt•speoific information, and comparable information about the
     products, proocs es, machines, c11s1omer1, clicnhl and services or affiliates or the COMPANY acquired by me during mr employment by
     the COMPANY,

     C       I ING            CT means any produot, process, machine, invention or servico of any person or oraanl2:ation other lhan the
     COMPANY In e iltence or under development which re,cmblea or competes with a product, process, machine, Invention or service upon
     whlch I .shall ha e worked or about which I become knowledacable u a result of employment with the COMPANY and whose use or
     marketability co Id be enhanced by application to it of CONFIDENTIAL INPORMATION which J shall have had acceu to during my
     employment,

     CO         TING O          IZATION mean• any person or organization whicll Is engaged In or about to become enaa1cd In research on,
     consultfn& regar ing, or developm1mt, ptod11ction, marketing, or sellina ora CONFLICTING PROPOCT.
              I recos lzc that the bu1incu in which tho COMPANY Is onaased is extremely compeUdve and that the COMPANY will be
     providing me w th CONPIDBNTIAL INPORMATION both at the commencement or my emptoymcmt and thereafter and may also ba
     providing mo w th tha opportunity to contribute to tho creation of CONFIDENTIAL INPOR.MATlON, which will a11ist both the
     COMPANY and mo in competing effectively. I recognize that CONFlDBNTfAL INFORMATION is significant to the COMPANY'S
     competitive posl lon and that the COMPANY therefore expects me to keep it sacret and al,o expects me not to aompet~ with the
     COMPANY duri g my employment and tor a. period of lime therc,aftor.
             Accord·naly, in c:on1ideratlon of the receipt of CONFJPENTIAL INFORMATION, my employment or the oont!nuatlon of my
     cmptoymemt by t e COMPANY, llnd the boncfits being provided to me purauant to puagraph 9:
     1.   I agree to isclosc promptly to the COMPANY all JNVBNTIONS conceived or made by me whothcr or not during my hour.s or
          employment or with 1he use of the COMPANY'S facilities, materials or personnel, either solely or Jointly with another or others
          during my mpl<>)'ment with the COMPANY, and related to the actual or anticipated busineas or activities of lho COMPANY, or
          related to it actual or anticipated research and development or suggested by or resullina rrom any task assigned to me or wotk
          porrormed b me tor, or on behalf of, tho COMP ANY. J asatgn and agree to assign my entire right, title and interest therein to the
          COMPANY I will not aucrt any rights under or 10 any INVENTIONS u having been made or acquired by me prior to my being
          employed t> the COMPANY unlellS such INVENTIONS arc idC11t1nod on II sheet auached hcrcito and slsned by me and the
          COMPANY s of the date of thla Aareement.




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 2,    I recognize c at all works, lncludi11g, but not limited to reporcs, computer program,. drawlnss, documentation illd publloatlona, which
       I prepare wi In the scope or my employmen1 with the COMPANY, 1hall be works made for hire ud that tho worldwide aopyrigh&&
       thc:rein 1hal be tho solo and uclu1ivc property of the COMPANY. I will promptly and fully diaolosc all euah works &o the
       COMPANY.

 3,   I •hall, wb      ever roquestad to do 10 by the COMPANY, exacutc any appllcallons, assignments or other ins1ruman11 which tha
      COMPANY         hall consider necessary to appl)' for and obtain Ltttcra Patent, trademark and/or cop)'l'iitht rogistradona in the United
      States, or a    y foreisn country, or to protect otherwise the COMPANY's intarcm, These obligations shall oontinuc beyond the
      termination     r my employment with the COMPANY with respect to INVBNTIONS, trademark» or copyrightable works conceived,
      authored or       ade by me during my period of employment, and shall be binding upon my executors, administrators, or other legal
      rcspreeonfati    s.

 4.   l shall not d sclose to the COMPANY or induce the COMPANY to use any secret, proprietary or oonfldential information or material
      belonging t other,, lnoll1dlng my former cmployer11, if 11ny. I am aware of no agreement, contract, non-compete covenant, non-
      dlaalosure/s croey agreement or similar res&rlolion that would in any way restrict, limit or prohibit my employment by the COMPANY
      that r haven t d(sclosod and providod to the COMPANY.

S.    I recognize      at CONFIDENTIAL JNFORMATION ia or BTC«t value to lhc COMPANY, that the COMPANY has legitimate business
      Interests in     rotecting lb CONFIDENTIAL INFORMATION, and that the disclosure co anyone not authorized to receive such
      information,    Including a CONPUCTINO OROANfZATION, will cause Immediate irreparable Injury to the COMPANY. Union I firat
      secure tbe       OMPANY', written oonsent, I will no& disoloae, uee, disseminate, lcccure upan or publish CONFIDENTIAL
      INPORMA         ON. I understand and aarec that my obligaclon.s not to di1close, use, dl111omlnate, lecture upon or p11bli1h
      CONFIDB         IAL INFORMATION 1hall continue after termination ofmy employment for any reason.

6.    During my mployment with the company and for a period of eighteen (J 8) months after termination or my employment with the
      COMPANY or any reason, I will not render servicas, directly or Indirectly, to any CON1L1CTIN0 ORGAN1ZA.TION in the Unhet;t
      Sutet, or I any foreign country or territory in which the 1ervfcea I may provide could enhanoe tho uao or marketablllty of a
      CONFLICT! G PR.ODUCT by application or CONFIDENTIAL 11'1PORMATJON which I ahall have had aoeeu to during my
      employment except that I may accept emplc,yment with a CONFLICTlNO OROANlZA TION whotc b111ln~,s Is divenlfled and which
      111, u to   t part of its buainess in which J accept employment, not a CONFLICTING ORGANJZATION, provided that the
      COMPANY, prior to my accepthta such emplcyment. shall receiva 11parato written assurance, aadsfaciory 10 tho COMPANY ft-om
      such CON ICTING ORGANIZATION and from me, that I will not render si:rvices directly or indirectly, for an IS-month period, in
      connection th any CONPJ.ICTINO PRODUC'l',

7.    I rocoantzo t the COMPANY'S relatloru with 1111 accounu, cualomcrt and clients represents an Important buslnen asset that rosuhs
      from Che C PANY'• 1f1nfticant fnvettmcnt of its lime and rc1ourccs, I furtbor rcco1nl2e that b)' vin11c ot my employment by the
      COMPANY, I havo aafnod or may sain relatiot11hfps with lhc accounr., custornert and clients of tho COMPANY, and because of such
      relationship , I could aause the COMPANY great lou, damage, and immodiatc irreparable harm, If, during my employment by the
      COMPANY r subsequent &o the termination oh~ch employment f'ar any reason, 1 ahould for myeolf or on behalf olany other person,
      entity, firm r corporation, ecll, offer for sale, or aoliaft or uaist in the s11le of' a product or service that could compete with a product
      or service b Ing 111old or developed by the COMPANY. I thcrerore a.area that durins my employment with the COMPA'NY end for
      eishteen (18 months after termination or auoh employment for any rcaeon, I will not solicit any busfn1111 from, ecll to, or render any
      aervfca to, o , directly or indirectly, help othcra to solfch busineu from or render service or sell to, any ortbe accounts, custamors or
      olfants with whom l have bad aontact durb1a tho last twelve (12) months of my ontployment whh the COMPANY, for any purpo,e
      related 10 t e sale or any suah product or service. l alao agree that for a period of twelve (12) months afti,r termination of
      employment whh the COMPANY f'or any reason, I will not aoliclt or hire on my own behalf, or on behalf of others, any COMPANY
      employee.

8,    To enable        e COMPANY te> monitor my compliance with the obligations imposed by 1hi1 Agreement, I asree to inform the
      COMPANY.        at the timer give notice of my termination of employment. or the ldenthy of my new employer and or m;y Job tille and
      responsfblli    ca, an<l will continue to 10 inform the COMPANY, in wrftlrig, 11ny time I change employment during the eighteen ( 18)
      months foll      Ing termination of my employment by the COMPANY for any reason.

9,    If I am una e to obtain ontployment consi1tcnt with my traininr and cduc,tian solely because of a prohibition of parasraph 6 ot 7 of
      this Aarccm nt, or if J am able &o obtain only a position in which my groH monthly income is leas than what l last received from the
      Company a regular monthly buo pay (exclusive of extra ciompensaUon and employee bcncths), then any prohibition of thoac
      parasr•phs at caused me 10 be unable to obtain ,uch employment (or that 1, roeponsibl1.1 ror the above-roforenccd differential in pay)
      shall bind c only as long u the Company thall make payment to me equal to the lesaer of (a) the amounc last received from the
      Company as resular monthly base pay, or (b) the difference between the amount l lut received t'rom the Company aa regular monthly
      base pay an the grosa monthly lncomo thul I am receiving in any subsequent employment.

Jo.   In order to uallfy ror 1he payment• provided for in paragraph 9 above, I unders111nd that I must, for oach month that I claim paymetnt
      is due, repr ent to the Vice President of Human Rc,ources of the Company, in writlna within fifteen (15) days followinll the end of
      that calenda month. that allhooah I diligently 1ou1ht employmont consistent with my training and oduoat!Qn, I war unable to obtain
      tt 1 or was II able to attain a position In which my sross monthly lncomc equaled my laat regular monthly baae pay at the Company, as
      the cue ma bo, &olcl;y booauae of I prohibitJon ot p1mgraph 6 or 7 ot this Asreement, I mu1t also promptly submft such further
      Information       the Company may request to enable it to verify the accuracy of my rtprc1en1allon. I understand that the Company


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       shall, at lti tion, bo relieved of maldna a monthly payment to me for any month with reapect to which I have failed to comply with a
       rO(!uirement f this par11raph 10.

 11.   r filrther und stand 1h1t if, 1t any ilme within the perlod of prohibition specified in paragraph 6 or 7, the Company givca me a written
       rolca1e from the prohibition of paragraph 6 or 7 that has baen the sole oauu ormy Inability to oblafn employment aonal11ent with my
       tralnins and d11catlon or my lnabfllty to obtain a po1itlon in which my gron monthly income equals my Jut regular monthly base pay
       at 1he Coinp ny, as the oue may be, then, the Company will no lonsor be obllgatc,d to make rhe p1ymen11 that had been required dua
       to those pro bitlon1.
                     0




 12. Upon termin     tion of my employment with the CQMPANY. either prior 10 or upon my retirement, I ahall turn over to a dosianated
     individual c    ployed by the COMPANY, all property then In my possession or custody and belonging to the COMPANY. including
     1ny compute      equipmi,nt, I shall not rotaln any ciopiet of correspondence, memoranda, reports, notebook,, dr11wins11, photographs, or
     other dooum     nta, including olectronic information and property, relatli1g in any way to the affairs of tbc COMPANY and whioh WDre
     entrusted to     c or obtained by me ar any time during my omploymc"t with tho COMPANY.

13, I llndoretand    and aoknowledge that If I violate this A.arcement or am at,out to violate this Agreamcnt by acoeptlng employment or
    providing se     vloes prohibited by paragraph 6 or 7 above, tho COMPANY shall have the right, and be entitled to, in addition to any
    other remed1     • it may have,, injunctive relief; in other words, J undentand and •clcnowledgc that the COMPANY can bar me from
    acceptin& eu     h employment or rendering auch scrvlcm for the periode specified in paragraphs 6 and 7 above.

14. I hereby con cnt and agreo to ueisnment by the COMPANY of this AgraDmont and all rijhle and obllg11fona hereunder lncludina, but
    not limited t , an a.asignmcnt In connaoUon with any merger, sale, transfer or acquisition by the COMPANY or relatinB to all or part
    of Its uscts, division• and/or affiliates.

IS, Nothins her in ahall llrnit or reduce my common law duties to the COMPANY, including but not llmhed to my duty ofloralty.

16. This Agrcio ent 11hall be Interpreted accordlna to the laws of the State of Now Jeru,y without regard to the connict of law tulc11
    thereof. I a rce that any action relating to or arising out or thle Agreement may be brousht In the court. of the State or New Jeraey
    or, fr tubJ t matter jurl1dlotlon exlatf, In the United State, District Co11rt for tho Dl•trlcc ot New Jersey. I cons1mt to personal
    jurl1diction nd venue fn both such courts and to 1crvlcc of proceu by United States Mail or oxprcu c<1urier service In any such
    action.

17. In the even that any provialon or this Agreement is invaliditod or unenforcaablc under applioablc law, that shall not af't'act the
    validity or a forccablllty or the remaining provf1lons. To tho oxtcnt thJt any provl11lon of this Aarocmcnt ls unenforceable because it
    is ovarbroad that provfalon ehall be: Umhcd to the extDnt required by applicable law and enforced as 10 limited,

18.




19.             I wl         onl           of W          n em 1      : Notification le hereby given that parasraph I docs not apply to an
       Invention fi r which no equipment, supplies. facility, or trade secret Information or the COMPANY waa used and which wu
       developed a tirely on my own limo, unl11t (a) the lnvencion relates (i) directly to tho bu1ine11 of the COll,tPANY or (II) to the
       COMP ANY s actual or demonstrably anticipated research or development, or (b) the invention results from any work performed by
       m,: for the OMPANY.

20.                   lncd In this Agreement shall be deemed 10 conf'et on me any rlahu wilh respect to the duration ot my employment with
       the COMP NY.         I UNDERSTAND AND AGREE THAT MV EMPLOYMENT RELATIONSHIP WITH THB COMPANY lS
       Tl!RMINA LE AT WILL BY EITHER THE COMPANY OR ME, WITH OR. WITHOUT CAUSE, EXCBPT THAT IF I INITIATE THE
       TERMINA ON, THBRB SHALL BB, AT THB COMPANY'S OPTION, A PBIUOD OF UP TO FOURTEEN (14) DAYS AFTER I
       GIVB WRI TSN NOTICE OP TERMINATION BBPORB TH8 TBR.MJNATION BECOMES 8P.PECTrYE, If the Company elects to
       continue m employment during the notloe period, It shall advise me of that fact, and or the duration of the notice period. During any
       no&ioo perio , I will provide 1110b tranti1ional 10tvice1 11 cha Company may reque1t. The Company will b11 obliaated to pay me my
       full base ,al ry during the nolioo period, and my ducy of' loyalty to the Company shall continue throuah such period,

I ACKNOWLBD B HAVING READ, BXBCUTBD AND RECEIVED A COPY OP THIS A0R8BM.BNT, and asm that with respeot to Che
eubjoot ma&tcr ereo( It It my entire aareoment with the COMPANY, 1uper1edins any prevtou1 oral or written communications,
representation,, nderstandlnsa, or aarcomonts whh the COMPANY or any or lta officials or reprc cntative1.




                                                                . 3.                                                    Revised 7/26/05


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